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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FEDERAL TRADE COMMISSION,                          Case No. 23-cv-01710-AMO
                                                           Plaintiff,
                                   8
                                                                                            ORDER
                                                  v.
                                   9
                                                                                            Re: Dkt. No. 23
                                  10     INTERCONTINENTAL EXCHANGE,
                                         INC., et al.,
                                  11                       Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           Before the Court is Defendants’ self-styled “Request for an Expedited Case Management

                                  14   Conference.” The Request is procedurally defective for several reasons and, as further explained

                                  15   below, is denied.

                                  16           The Northern District of California maintains a set of Civil Local Rules to facilitate the

                                  17   “just, efficient, speedy, and economical determination of every action.” Civ. L.R. 1-2(b). Civil

                                  18   Local Rule 7-11, relevant here, sets forth the procedure for motions for administrative relief. Civil

                                  19   Local Rule 16-2(d) refers to the procedure laid out in Civil Local Rule 7 specifically for parties to

                                  20   seek relief from the case management schedule. Both Rules require that a motion seeking such

                                  21   administrative relief be accompanied by a description of the circumstances which support the

                                  22   Request, and both Rules require such a motion be accompanied by a proposed order. Moreover,

                                  23   Rule 16-2(d)(2) is clear that counsel for the moving party is to confer with all other counsel about

                                  24   the matter, affirm that conduct to the court, and report whether each party supports or opposed the

                                  25   request for relief.

                                  26           Here, Defendants request an expedited case management conference on an extremely short

                                  27   schedule. Defendants’ Request does not comport with the Local Rules because it does not include

                                  28   a description of the circumstances that warrant such urgent relief. Defendants’ Request is not
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                                   1   supported by good cause supporting such an urgent conference. Further, Defendants fail to

                                   2   present a proposed order or to affirm that counsel conferred with all other counsel about the

                                   3   Request. Based on these procedural defects and the lack of good cause, the Request is therefore

                                   4   DENIED. Accordingly, the Court will not hold a conference the week of April 24, 2023.

                                   5          Given the substance of the case and the earlier grant of temporary restraining order (Dkt.

                                   6   No. 39), however, the Court needs to hear from the parties. The parties are therefore ORDERED

                                   7   to meet and confer and to jointly choose between the following in-person conference dates: May 4,

                                   8   May 12, or May 18. The conference will take place at 10:00am on the date selected. The parties

                                   9   SHALL jointly submit notice of the date selected no later than 4:00pm on Friday, April 28,

                                  10   2023. The parties’ case management statement, complying with Civil Local Rule 16-9, is due no

                                  11   later than the Thursday prior to the date selected for the in-person conference.

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: April 25, 2023

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                                                                                                    ARACELI MARTÍNEZ-OLGUÍN
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                                                                                                    United States District Judge
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